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                                                                     United States District Court
                                                                       Southern District of Texas

                                                                          ENTERED
                                                                        January 05, 2021
                                                                       Nathan Ochsner, Clerk

                    UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF TEXAS
                         HOUSTON DIVISION

      JEREMY JAMES                §   CIVIL ACTION NO.
      JOSEPH,                     §   4:20–cv–04223
      (Former SPN #03060619)      §
                   Plaintiff,     §
                                  §
                                  §
             vs.                  §   JUDGE CHARLES ESKRIDGE
                                  §
                                  §
      RICE UNIVERSITY, et al.,    §
                Defendants.       §

                           ORDER OF DISMISSAL

          This civil action is DISMISSED WITHOUT PREJUDICE for the
      reasons stated in the Memorandum on Dismissal entered this
      same date.
          SO ORDERED.
          Signed on January 5, 2021, at Houston, Texas.


                                 ________________________
                                 Hon. Charles Eskridge
                                 United States District Judge
